     Case: 1:14-cv-06331 Document #: 12 Filed: 10/06/14 Page 1 of 1 PageID #:40

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Francisca Ramirez
                                Plaintiff,
v.                                                  Case No.: 1:14−cv−06331
                                                    Honorable Ronald A. Guzman
Stellar Recovery, Inc.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 6, 2014:


        MINUTE entry before the Honorable Ronald A. Guzman: This action is dismissed
without prejudice; provided, however, that within 30 days of the date of this order any
party may reinstate the action to the calendar of the undersigned by filing a notice of
reinstatement. If no such notice is filed within 30 days then the dismissal shall be with
prejudice thereafter. Any pending motions or schedules in this case are stricken as moot.
Civil case terminated. Mailed notice (cjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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